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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


     BROWSERKEY, LLC,

          Plaintiff,                                      Case No. 2:24-CV-00800-JRG-RSP
                                                               (Lead Case)
          v.
                                                         JURY TRIAL DEMANDED
     WELLS FARGO BANK, N.A.,

          Defendant.


     BROWSERKEY, LLC,

          Plaintiff,                                     Case No. 2:24-CV-00798-JRG-RSP
                                                              (Member Case)
          v.

     BANK OF AMERICA CORPORATION,                        JURY TRIAL DEMANDED
     BANK OF AMERICA, NATIONAL
     ASSOCIATION, and MERRILL LYNCH,
     PIERCE, FENNER & SMITH
     INCORPORATED

          Defendants.

                ORDER GRANTING BANK OF AMERICA DEFENDANTS’
               MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

         Before the Court is Defendants Bank of America Corporation (“BAC”), Bank of America,

 National Association (“BANA”), and Merrill Lynch, Pierce, Fenner & Smith Incorporated’s

 (“Merrill”) (collectively, “Bank of America Defendants”) Motion to Dismiss Plaintiff’s Amended

 Complaint (the “Motion”). In the Motion, Bank of America Defendants request that the Court

 dismiss BrowserKey, LLC’s (“BrowserKey”) Amended Complaint (Dkt. 34) in its entirety with

 prejudice for failure to state a claim.
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         Having considered the Motion, the Court finds that Bank of America Defendants’ request

 to dismiss BrowserKey’s Amended Complaint should be and hereby is GRANTED. IT IS

 ORDERED that BrowserKey’s Amended Complaint is dismissed with prejudice for failure to

 state a claim.

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